        Case: 3:20-cv-50285 Document #: 1 Filed: 08/02/20 Page 1 of 16 PageID #:1




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               ROCKFORD DIVISION

DYLAN MITCHELL, DAYNA SCHULTZ,                 )
LARISSA WALSTON, MICHAEL RIGGS,                )
and IVAN HOLLAND, individually and on          )
behalf of all others similarly situated,       )
                                               )
         Plaintiffs,                           )
                                               )
                v.                             )      20 CV 50285
                                               )
EUGENE G. DOHERTY, in his official             )
capacity as the Chief Judge of the             )
17th Judicial Circuit Court;                   )
GARY CARUANA, in his official capacity         )
as the Sheriff of Winnebago County; and        )
WINNEBAGO COUNTY,                              )
                                               )      Jury Trial Demanded
         Defendants.                           )
                                               )

                            CLASS ACTION COMPLAINT

         Plaintiffs Dylan Mitchell, Dayna Schultz, Larissa Walston, Michael Riggs

and Ivan Holland, individually and on behalf of all others similarly situated,

complain against Defendants Chief Judge of the 17th Judicial Circuit Court Eugene

Doherty, Winnebago County Sheriff Gary Caruana, and Winnebago County as

follows:

                                  Nature of the Case

   1.      This is an action for money damages, declaratory relief and injunctive

relief brought pursuant to 42 U.S.C. § 1983. Plaintiffs, individually and on behalf of

the class they seek to represent, allege violations of their rights under the Fourth

Amendment of the United States Constitution.
        Case: 3:20-cv-50285 Document #: 1 Filed: 08/02/20 Page 2 of 16 PageID #:2




   2.       The 17th Judicial Circuit Court is responsible for conducting probable

cause hearings for individuals arrested without a warrant and detained in

anticipation of criminal court proceedings in Winnebago County. The 17th Judicial

Circuit Court only conducts probable cause hearings for individuals arrested on

felony charges on business days and does not make any arrangements for

individuals arrested on weekends to be brought before a judge for a determination

of probable cause to detain until the next regular business day.

   3.      Individuals who are arrested by any police department in Winnebago

County and held in custody in anticipation of criminal court proceedings are

typically imprisoned in the Winnebago County Jail, located at 650 W. State Street,

Rockford, Illinois (hereinafter “the Jail”). The Jail routinely holds individuals in

custody over weekends and court holidays without a judicial determination of

probable cause.

   4.      The policies of the 17th Judicial Circuit Court and the Jail routinely result

in detainees’ being imprisoned for more than 48 hours without any judicial

determination of probable cause in direct contravention of the Supreme Court’s

mandate in County of Riverside v. McLaughlin, 500 U.S. 44, 57 (1991).

   5.      At the time of the filing of this Complaint, named Plaintiffs Dylan

Mitchell, Dayna Schultz, Larissa Walston, and Ivan Holland remain detained in the

Winnebago County Jail more than 48 hours after their arrests without any judicial

determination of probable cause.




                                            2
        Case: 3:20-cv-50285 Document #: 1 Filed: 08/02/20 Page 3 of 16 PageID #:3




   6.          As set forth in more detail below, there are two parties responsible for the

unlawful detentions of the Plaintiffs.

         (a)      Defendant Eugene Doherty is the Chief Judge of the 17th Judicial
                  Circuit Court. He has final responsibility for setting court schedules for
                  all courts within the 17 Judicial Circuit, including the time and
                  frequency of probable cause and bond hearings; and

         (b)      Defendant Gary Caruana is the Winnebago County Sheriff. As the
                  Sheriff of Winnebago County, Caruna is the top official in charge of
                  administration and management of all operations of the Jail and has
                  final authority to set policies regarding custody of pre-trial detainees
                  at the Jail.
                                   Jurisdiction and Venue

   7.      Jurisdiction for Plaintiffs’ federal claims is based on 28 U.S.C. §§ 1331 and

1343(a).

   8.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b), in that the

claims arose in this district as alleged below.

                                            Parties

   9.      Plaintiff Dylan Mitchell is a 26-year-old resident of Rockford, Illinois.

   10.     Plaintiff Dayna Schultz is a 23-year-old resident of Rockford, Illinois.

   11.     Plaintiff Larissa Walston is a 23-year-old resident of Loves Park, Illinois.

   12.     Plaintiff Michael Riggs is a 20-year-old resident of South Beloit, Illinois.

   13.     Plaintiff Ivan Holland is a25-year-old resident of Rockford, Illinois.

   14.     Defendant Eugene Doherty is the Chief Judge of the 17th Judicial Circuit

Court, which covers Winnebago County. Plaintiffs sue Chief Judge Doherty in his

official capacity. Pursuant to Article VI, §7(c) of the Illinois Constitution, Chief

Judge Doherty has general administrative authority over the operations of the 17th




                                               3
     Case: 3:20-cv-50285 Document #: 1 Filed: 08/02/20 Page 4 of 16 PageID #:4




Judicial Circuit Court. His constitutional authority includes the obligation to

“provide for ... appropriate times and places of holding court.” Id. As the Chief

Judge, Doherty has final authority to set court schedules for the 17th Judicial

Circuit Court, including the dates, times and schedules for holding probable cause

hearings.

   15.    Defendant Gary Caruana is the Winnebago County Sheriff. Plaintiffs sue

Caruana in his official capacity. Pursuant to 55 ILCS 5/3-6017, Caruana has

responsibility for the “custody and care” of the Winnebago County Jail. Caruana is

the highest decision-maker with authority over the Jail, and he determines the

policies of the Jail with respect to detainees’ custody and confinement.

   16.    Plaintiffs join Winnebago County, Illinois, pursuant to Carver v. Sheriff of

LaSalle County, 324 F.3d 947 (7th Cir. 2003). The operations of the Jail and the

17th Judicial Circuit Court are ultimately the financial responsibility of Winnebago

County.

   17.    Count I is brought as a class action pursuant to Rule 23(b)(2) of the

Federal Rules of Civil Procedure because Defendant Chief Judge Doherty has acted

on grounds generally applicable to the class, thereby making appropriate final

injunctive and declaratory relief with respect to the class as a whole on Count I of

this Complaint. The named Plaintiffs seek to represent a class of similarly situated

detainees who are currently (or will be in the future) detained at the Jail on a

weekend and/or court holiday pending a judicial determination of probable cause in




                                           4
     Case: 3:20-cv-50285 Document #: 1 Filed: 08/02/20 Page 5 of 16 PageID #:5




the 17th Judicial Circuit Court. Plaintiffs seek injunctive and declaratory relief

against Defendant Chief Judge Doherty on behalf of the class.

   18.     In Count II the named Plaintiffs seek compensatory damages against

Defendant Sheriff Gary Caruana.

                        Factual Allegations: Dylan Mitchell

   19.     On Friday, July 31, 2020, Plaintiff Dylan Mitchell attended a

demonstration organized by the May 30th Alliance in Rockford, Illinois. The May

30th Alliance advocates on behalf of victims of police misconduct by the Rockford

Police Department. Demonstrators were demanding that charges against Black

Lives Matter demonstrators arrested after the police murder of George Floyd be

dropped.

   20.     At approximately 7:20 p.m., Rockford police arrested Plaintiff Mitchell.

The arresting officers did not have a warrant calling for her arrest.

   21.     Plaintiff Mitchell was transported to the Winnebago County Jail.

   22.     At the time of this filing, Plaintiff Mitchell remains in custody. Mitchell

has been detained at the Jail in excess of 48 hours without any judicial

determination of whether there is probable cause to detain.

   23.     The 17th Judicial Circuit Court did not hold probable cause hearings for

individuals charged with felonies on Saturday, August 1, 2020, or Sunday, August

2, 2020.

   24.     Plaintiff Mitchell’s first opportunity to appear before a judge will be 1:30

p.m. on Monday, August 3, 2020—approximately 66 hours after her arrest.




                                             5
     Case: 3:20-cv-50285 Document #: 1 Filed: 08/02/20 Page 6 of 16 PageID #:6




   25.   As a direct and proximate result of the acts of the Defendants described

above, Plaintiff Mitchell suffered and continues to suffer damages including loss of

physical liberty, physical pain and suffering, and emotional distress.

                       Factual Allegations: Dayna Schultz

   26.   On Friday, July 31, 2020, Plaintiff Dayna Schultz attended a Black Lives

Matter demonstration organized by the May 30th Alliance in Rockford, Illinois.

   27.   At approximately 6:50 p.m., Rockford police arrested Plaintiff Schultz. The

arresting officers did not have a warrant calling for her arrest.

   28.   Plaintiff Schultz was transported to the Winnebago County Jail.

   29.   At the time of this filing, Plaintiff Schultz remains in custody. Schultz has

been detained at the Jail in excess of 48 hours without any judicial determination of

whether there is probable cause to detain.

   30.   The 17th Judicial Circuit Court did not hold probable cause hearings for

individuals charged with felonies on Saturday, August 1, 2020 or Sunday, August 2,

2020.

   31.   Plaintiff Schultz’s first opportunity to appear before a judge will be 1:30

p.m. on Monday, August 3, 2020—approximately 66 hours after her arrest.

   32.   As a direct and proximate result of the acts of the Defendants described

above, Plaintiff Schultz suffered and continues to suffer damages including loss of

physical liberty, physical pain and suffering, and emotional distress.




                                           6
     Case: 3:20-cv-50285 Document #: 1 Filed: 08/02/20 Page 7 of 16 PageID #:7




                      Factual Allegations: Larissa Walston

   33.   On Friday, July 31, 2020, Plaintiff Larissa Walston attended a Black Lives

Matter demonstration organized by the May 30th Alliance in Rockford, Illinois.

   34.   At approximately 7:10 p.m., Rockford police arrested Plaintiff Walston.

The arresting officers did not have a warrant calling for her arrest.

   35.   Plaintiff Walston was transported to the Winnebago County Jail.

   36.   At the time of this filing, Plaintiff Walston remains in custody. Walston

has been detained at the Jail in excess of 48 hours without any judicial

determination of whether there is probable cause to detain.

   37.   The 17th Judicial Circuit Court did not hold probable cause hearings for

individuals charged with felonies on Saturday, August 1, 2020 or Sunday, August 2,

2020.

   38.   Plaintiff Walston’s first opportunity to appear before a judge will be 1:30

p.m. on Monday, August 3, 2020—approximately 66 hours after her arrest.

   39.   As a direct and proximate result of the acts of the Defendants described

above, Plaintiff Walston suffered and continues to suffer damages including loss of

physical liberty, physical pain and suffering, and emotional distress.

                       Factual Allegations: Michael Riggs

   40.   On Saturday, August 1, 2020, Plaintiff Michael Riggs attended a

demonstration in Rockford, Illinois. Demonstrators were calling to defund the police

and protesting against police brutality.




                                           7
     Case: 3:20-cv-50285 Document #: 1 Filed: 08/02/20 Page 8 of 16 PageID #:8




   41.   At approximately 1:00 p.m., Rockford police arrested Plaintiff Riggs. The

arresting officers did not have a warrant calling for his arrest.

   42.   Plaintiff Riggs was transported to the Winnebago County Jail.

   43.   At the time of this filing, Plaintiff Riggs remains in custody.

   44.   The 17th Judicial Circuit Court did not hold probable cause hearings for

individuals charged with felonies on Saturday, August 1, 2020 or Sunday, August 2,

2020.

   45.   Plaintiff Riggs’ first opportunity to appear before a judge will be 1:30 p.m.

on Monday, August 3, 2020—more than 48 hours after his arrest.

   46.   As a direct and proximate result of the acts of the Defendants described

above, Plaintiff Riggs suffered and continues to suffer damages including loss of

physical liberty, physical pain and suffering, and emotional distress.

                          Factual Allegations: Ivan Holland

   47.   On Friday, July 31, 2020, at approximately 6:20 p.m. Rockford police

arrested Plaintiff Ivan Holland. The arresting officers did not have a warrant

calling for his arrest.

   48.   Plaintiff Holland was transported to the Winnebago County Jail.

   49.   At the time of this filing, Plaintiff Holland remains in custody. Holland has

been detained at the Jail in excess of 48 hours without any judicial determination of

whether there is probable cause to detain.




                                           8
     Case: 3:20-cv-50285 Document #: 1 Filed: 08/02/20 Page 9 of 16 PageID #:9




   50.    The 17th Judicial Circuit Court did not hold probable cause hearings for

individuals charged with felonies on Saturday, August 1, 2020 or Sunday, August 2,

2020.

   51.    Plaintiff Holland’s first opportunity to appear before a judge will be 1:30

p.m. on Monday, August 3, 2020—approximately 67 hours after his arrest.

   52.    As a direct and proximate result of the acts of the Defendants described

above, Plaintiff Holland suffered and continues to suffer damages including loss of

physical liberty, physical pain and suffering, and emotional distress.

         Defendant Sheriff Caruana’s Liability to the Named Plaintiffs

   53.    It is well established that individuals arrested without a warrant are

entitled to a judicial determination of probable cause within 48 hours.

   54.    It is the common, widespread and well-settled practice that arrestees

transferred from police custody to the Jail on weekends or holidays are detained in

excess of 48 hours without a judicial determination of probable cause. This practice

is so widespread and well settled that it constitutes a custom or usage with the force

of law even though it has not been reduced to a written policy.

   55.    At all times relevant to the detention of the named Plaintiffs, Defendant

Sheriff Caruana knew that the 17th Judicial Circuit Court did not hold probable

cause hearings on Saturdays, Sundays or court holidays. Defendant Sheriff

Caruana likewise knew that arrestees detained at the Jail on weekends and

holidays, including the Plaintiffs, were being held in excess of 48 hours without a

judicial determination of probable cause.




                                            9
    Case: 3:20-cv-50285 Document #: 1 Filed: 08/02/20 Page 10 of 16 PageID #:10




   56.      Although he knew or should have known that doing so would lead to

violations of detainees’ Fourth Amendment rights, Sheriff Caruana nonetheless

approved of and authorized the detention of arrestees at the Jail on weekends and

holidays.

   57.      By approving, condoning and/or turning a blind eye to the widespread

violation of detainees’ Fourth Amendment rights, Defendant Sheriff Caruana acted

and continues to act with deliberate indifference to the rights of Plaintiffs and all

others detained at the Jail on weekends and holidays.

   58.      Defendant Sheriff Caruana’s policy and practice described above was the

moving cause behind the unlawful detentions of Plaintiffs.

     Defendant Chief Judge Doherty’s Liability to the Named Plaintiffs
           and the Members of the Class they Seek to Represent

   59.      It is the common, widespread and well-settled practice in the 17th Judicial

Circuit Court that probable cause hearings are only conducted on business days.

This practice is so widespread and well settled that it constitutes a custom or usage

with the force of law even though it has not been reduced to a written policy.

   60.      Defendant Chief Judge Doherty knows or should know that pursuant to

this practice, individuals arrested on weekends or court holidays are routinely

detained in the Jail for more than 48 hours without receiving a judicial

determination of probable cause in violation of their Fourth Amendment rights.

   61.      Defendant Chief Judge Doherty acted and continues to act with deliberate

indifference to the rights of Plaintiffs and all others arrested for felonies in

Winnebago County on weekends or court holidays by failing to implement a court



                                            10
    Case: 3:20-cv-50285 Document #: 1 Filed: 08/02/20 Page 11 of 16 PageID #:11




schedule that ensures that individuals arrested on weekends or court holidays

receive a probable cause hearing within 48 hours.

   62.     The policy and practice described above was the moving cause behind the

violations of the Fourth Amendment rights of the named Plaintiffs and current and

future class members.

                                   Class Allegations

   63.     Pursuant to Fed. R. Civ. P. 23(b)(2), the named Plaintiffs seek certification

of Count I of this complaint as a class action. The named Plaintiffs seek to represent

a class consisting of:

           All individuals arrested without a warrant on felony charges in
           Winnebago County who are currently detained or in the future will
           be detained at the Winnebago County Jail on a weekend or court
           holiday in excess of 48 hours pending a judicial hearing to determine
           probable cause to detain.

   64.     The Plaintiff Class seeks a declaration that Defendant Chief Judge

Doherty’s policy and practice of failing to provide probable cause hearings on

weekends or court holidays is unconstitutional because it results in routine

violations of class members’ Fourth Amendment right to a prompt judicial

determination of probable cause.

   65.     The Plaintiff Class also seeks an injunction ordering Defendant Chief

Judge Doherty to change the current policy and practice and to implement a

schedule for probable cause hearings in the 17th Judicial Circuit Court that ensures

individuals arrested on weekends or holidays receive a prompt probable cause

hearing.




                                           11
    Case: 3:20-cv-50285 Document #: 1 Filed: 08/02/20 Page 12 of 16 PageID #:12




   66.       The proposed class is numerous. According to arrest and detention data

made available by the Rockford Police Department and the Winnebago County Jail,

of the 29 individuals arrested by Rockford Police on Friday, July 31, 2020, and prior

to 1:30 p.m. on Saturday, August 1, 2020, 15 remain imprisoned in the Winnebago

County Jail at this time without having been brought before a judge for a

determination of probable cause to detain. There are individuals arrested in other

municipalities in Winnebago County who are in the same position. The same

situation occurs every single weekend. The class easily comprises hundreds of

individuals.

   67.       Joinder of all class members is impracticable. Not only is the class

numerous, but membership in the class is also constantly changing. Any individual

arrested in Winnebago County may be placed in the Jail pending a judicial

determination of probable cause. Accordingly, the membership of the class changes

on a weekly basis as individuals are arrested, detained, and released from custody.

   68.       There are questions of law and fact common to all class members,

including but not limited to:

         •       What is the current schedule in the 17th Judicial Circuit Court for
                 probable cause hearings;

         •       Whether the schedule leads to violations of detainees’ Fourth
                 Amendment right to a prompt judicial determination of probable cause
                 consistent with the Supreme Court’s mandate in County of Riverside v.
                 McLaughlin, 500 U.S. 44, 57 (1991) that the Fourth Amendment
                 requires a judicial determination of probable cause to detain within 48
                 hours of arrest.




                                             12
    Case: 3:20-cv-50285 Document #: 1 Filed: 08/02/20 Page 13 of 16 PageID #:13




   69.   All individuals falling within the class definition have been subject to the

same policy and practice. Given the commonality of the questions pertinent to all

class members, a single injunction or declaratory judgment would provide relief to

each member of the class.

   70.   Defendant Chief Judge Doherty has acted and continues to act in a

manner adverse to the rights of the proposed class, making final injunctive and

declaratory relief appropriate with respect to the class as a whole.

   71.   Plaintiffs and the class they seek to represent have been directly injured

by Defendant Chief Judge Doherty’s policies and practices and members of the class

are currently at risk of future harm from the continuation of these policies and

practices.

   72.   Plaintiffs will fairly and adequately represent the interests of the class and

the Plaintiffs’ claims are typical of the claims of all members of the proposed class.

   73.   Plaintiffs’ counsel are experienced in civil rights litigation, including

Monell claims, civil rights class actions, and Fourth Amendment cases alleging

excessive detentions. Plaintiffs’ counsel will fairly and adequately represent the

interests of the class.

                                 COUNT I
                 42 U.S.C. §1983: FOURTH AMENDMENT
  (Claim for Injunctive and Declaratory Relief Against Defendant Chief
 Judge Doherty on behalf of the named Plaintiffs and all others similarly
                                 situated)

   74.   Plaintiffs and the members of the proposed class reallege and incorporate

as if fully set forth herein all of the allegations above.




                                            13
    Case: 3:20-cv-50285 Document #: 1 Filed: 08/02/20 Page 14 of 16 PageID #:14




   75.        As a direct and proximate result of Defendant Doherty’s failure to schedule

probable cause hearings for individuals arrested and detained on weekends and

court holidays, Plaintiffs and the members of the proposed class have suffered a loss

of their Fourth Amendment right to a prompt judicial determination of probable

cause to detain after their arrests.

   76.        In the absence of injunctive and declaratory relief, the members of the

class will continue to suffer unreasonable deprivations of their liberty. The

members of the class have no adequate or complete remedy at law to address the

wrongs described herein. The injunctive and declaratory relief sought by the class is

necessary to prevent continued and future injury.

         WHEREFORE, Plaintiffs respectfully request that this Honorable Court:

         a)      Issue an order certifying this action to proceed as a class pursuant to
                 Fed. R. Civ. P. 23(b)(2);

         b)      Appoint the undersigned as class counsel pursuant to Fed. R. Civ. P.
                 23(g);

         c)      Enter judgment declaring that Defendant Chief Judge Doherty’s
                 policies and practices described herein as applied to the class violate
                 the Fourth Amendment of the U.S. Constitution;

         d)      Enter a preliminary and then permanent injunction prohibiting
                 Defendant Chief Judge Doherty from continuing the unconstitutional
                 policies and practices identified herein;

         e)      Award Plaintiffs their reasonable attorneys’ fees and cost pursuant to
                 42 U.S.C. § 1988, and other applicable law; and

         f)      Grant such other relief as this Court deems just and proper.




                                              14
    Case: 3:20-cv-50285 Document #: 1 Filed: 08/02/20 Page 15 of 16 PageID #:15




                                       COUNT II
                       42 U.S.C. §1983: FOURTH AMENDMENT
                 (Monell Official Capacity Claim Against Defendant
               Sheriff Caruana on behalf of the Named Plaintiffs Only)

   77.        Plaintiffs reallege and incorporate as if fully set forth herein all of the

allegations above.

   78.        As a direct and proximate result of Defendant Sheriff Caruana’s

deliberate indifference, Plaintiffs have suffered a loss of their Fourth Amendment

rights.

   79.        As a direct and proximate result of Defendant Sheriff Caruana’s policies,

the Plaintiffs have suffered damages including loss of physical liberty, physical pain

and suffering, and emotional distress.

         WHEREFORE, Plaintiffs respectfully request that this Honorable Court:

         a)       Enter judgment declaring that Defendant Sheriff Caruana’s policies
                  and practices described herein violate the Fourth Amendment of the
                  U.S. Constitution;

         b)       Award Plaintiffs compensatory damages in an amount to be fixed by a
                  jury at trial;

         c)       Award Plaintiffs their reasonable attorneys’ fees and costs pursuant to
                  42 U.S.C. § 1988, and other applicable law; and

         d)       Grant such other relief as this Court deems just and proper.


         Plaintiffs demand trial by jury.


                                                     Respectfully submitted,

                                                     /s/ Adele D. Nicholas
                                                     /s/ Brad J. Thomson
                                                     Counsel for Plaintiffs



                                                15
   Case: 3:20-cv-50285 Document #: 1 Filed: 08/02/20 Page 16 of 16 PageID #:16




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                                       16
